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               Plaintiff’s Position on Docket Entries 143, 164, 172, 199, & 230


      Docket Entry                                 Plaintiff’s Position
 143: Plaintiff’s Motion      Unseal with applicable Brown minimal redactions (if any) and
to Compel Defendant to         redactions of yet-to-be-noticed Non-Party names (if any)
   Answer Deposition
       Questions
                              Unseal in full (no applicable Brown minimal redactions or yet-
           144                 to-be-noticed Non-Party names)

                              Unseal with applicable Brown minimal redactions (if any) and
        144-1                  redactions of yet-to-be-noticed Non-Party names (if any)

                              Unseal with applicable Brown minimal redactions (if any) and
        144-2                  redactions of yet-to-be-noticed Non-Party names (if any)

                              Unseal with applicable Brown minimal redactions (if any) and
        144-4                  redactions of yet-to-be-noticed Non-Party names (if any)

                              Unseal with applicable Brown minimal redactions (if any) and
        144-5                  redactions of yet-to-be-noticed Non-Party names (if any)

                              Unseal with applicable Brown minimal redactions (if any) and
        144-6                  redactions of yet-to-be-noticed Non-Party names (if any)

                              Unseal with applicable Brown minimal redactions (if any) and
        144-7                  redactions of yet-to-be-noticed Non-Party names (if any)

                              Unseal with applicable Brown minimal redactions (if any) and
         149                   redactions of yet-to-be-noticed Non-Party names (if any)
                              Unseal in its entirety (no applicable Brown minimal redactions
         150                   or yet-to-be-noticed Non-Parties)

                              Unseal pages released by Second Circuit (see List of Decided
                               Motions)
        150-1                 Unseal remainder of the document with applicable Brown
                               minimal redactions (if any) and redactions of yet-to-be-noticed
                               Non-Party names (if any)

                              Unseal portions summarizing Doe 1’s public statements (pg. 6)
         152                  Unseal portions summarizing deceased Non-Party’s public
                               statements (pg. 6)




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                              Unseal remainder of the document with applicable Brown
                               minimal redactions (if any) and redactions of yet-to-be-noticed
                               Non-Party names (if any)
                              Unseal in full (no applicable Brown minimal redactions or yet-
         153                   to-be-noticed Non-Party names)

                              Unseal with applicable Brown minimal redactions (if any) and
        153-1                  redactions of yet-to-be-noticed Non-Party names (if any)

  164: Defendant’s            Unseal in full (no applicable Brown minimal redactions or yet-
Motion to Compel all           to-be-noticed Non-Party names)
   Attorney-Client
Communications and
Work Product Put At
Issue by Plaintiff and
    Her Attorneys
                              Unseal in full (no applicable Brown minimal redactions or yet-
         165                   to-be-noticed Non-Party names)

        165-3                 Unseal in full (document is already public)
                              Unseal with applicable Brown minimal redactions (if any) and
        165-8
                               redactions of yet-to-be-noticed Non-Party names (if any)
                              Unseal with applicable Brown minimal redactions (if any) and
       165-10
                               redactions of yet-to-be-noticed Non-Party names (if any)
                              Unseal in full (no applicable Brown minimal redactions or yet-
       165-11
                               to-be-noticed Non-Party names)
                              Unseal portions mentioning Doe 1 or Doe 2 (pg. 3)
         184                  Unseal with applicable Brown minimal redactions (if any) and
                               redactions of yet-to-be-noticed Non-Party names (if any)
                              Unseal in full (no applicable Brown minimal redactions or yet-
         185                   to-be-noticed Non-Party names)

                              Unseal in full (document is already public)
        185-2
                              Unseal in full (document is already public)
        185-3
                              Unseal pages released by Second Circuit (see List of Decided
                               Motions)
       185-11                 Unseal remainder of document with applicable Brown minimal
                               redactions (if any) and redactions of yet-to-be-noticed Non-Party
                               names (if any)
                              Unseal in full (no applicable Brown minimal redactions or yet-
       185-13
                               to-be-noticed Non-Party names)


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                              Unseal with applicable Brown minimal redactions (if any) and
        185-14
                               redactions of yet-to-be-noticed Non-Party names (if any)
                              Unseal in full (document is already public)
        185-15
                              Unseal with applicable Brown minimal redactions (if any) and
        185-16                 redactions of yet-to-be-noticed Non-Party names (if any)

                              Unseal in full (no applicable Brown minimal redactions or yet-
         194                   to-be-noticed Non-Party names)

                              Unseal in full (no applicable Brown minimal redactions or yet-
        194-3
                               to-be-noticed Non-Party names)
                              Unseal with applicable Brown minimal redactions (if any) and
172: Plaintiff’s Motion        redactions of yet-to-be-noticed Non-Party names (if any)
to Exceed Presumptive         In the alternative, at a minimum, unseal bullets summarizing
 Ten Deposition Limit          Maxwell’s public deposition testimony

                              Unseal with applicable Brown minimal redactions (if any) and
         173                   redactions of yet-to-be-noticed Non-Party names (if any)

                              Unseal pages released by Second Circuit (see List of Decided
        173-5                  Motions)
                              No position as to the remainder of the document
                              Unseal pages released by Second Circuit (see List of Decided
                               Motions)
                              Unseal portions mentioning Doe 1 or Doe 2 (pg. 71, 72, 73, 218)
        173-6
                              Unseal the remainder of the document with applicable Brown
                               minimal redactions (if any) and redactions of yet-to-be-noticed
                               Non-Party names (if any)
                              Unseal everything except for redaction on page 5 until Non-
         189                   Party deponent receives notice

                              Unseal in full (no applicable Brown minimal redactions or yet-
         190                   to-be-noticed Non-Party names)
                              Unseal everything except for inadvertently included letter on
        190-1                  page 2

                              Unseal portions mentioning Doe 1 or Doe 2 (pp. 2, 5, 6)
                              Unseal the remainder of the document with applicable Brown
         203                   minimal redactions (if any) and redactions of yet-to-be-noticed
                               Non-Party names (if any)



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                              Unseal with applicable Brown minimal redactions (if any) and
         204                   redactions of yet-to-be-noticed Non-Party names (if any)
                              Unseal pages released by Second Circuit (see List of Decided
        204-1                  Motions)
                              No position as to the remainder of the document
                              Unseal pages released by Second Circuit (see List of Decided
        204-2                  Motions)
                              No position as to the remainder of the document
                              Unseal in full (no applicable Brown minimal redactions or yet-
        204-3
                               to-be-noticed Non-Party names)
                              Unseal portions mentioning Doe 1 or Doe 2 (pp. 2, 5, 6)
                              Unseal the remainder of the document with applicable Brown
         211                   minimal redactions (if any) and redactions of yet-to-be-noticed
                               Non-Party names (if any)

                              Unseal portions mentioning Doe 1 or Doe 2 (pg. 2)
                              Unseal the remainder of the document with applicable Brown
         212
                               minimal redactions (if any) and redactions of yet-to-be-noticed
                               Non-Party names (if any)
                              Unseal pages released by Second Circuit (see List of Decided
        212-1                  Motions)
                              No position as to the remainder of the document
                              Unseal pages released by Second Circuit (see List of Decided
        212-2                  Motions)
                              No position as to the remainder of the document
                              Unseal in full (no applicable Brown minimal redactions or yet-
        212-3
                               to-be-noticed Non-Party names)
                              Unseal portions mentioning Doe 1 or Doe 2 (p. 2)
                              Unseal the remainder of the document with applicable Brown
         224
                               minimal redactions (if any) and redactions of yet-to-be-noticed
                               Non-Party names (if any)
199: Plaintiff’s Motion       N/A (not currently sealed or redacted)
for Extension of Time
     to Complete
     Depositions
                              Unseal with applicable Brown minimal redactions (if any) and
         228                   redactions of yet-to-be-noticed Non-Party names (if any)

                              Unseal with applicable Brown minimal redactions (if any) and
         229                   redactions of yet-to-be-noticed Non-Party names (if any)



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         229-1                 No position
                               Unseal pages released by Second Circuit (see List of Decided
                                Motions)
         229-2                 Unseal the remainder of the document with applicable Brown
                                minimal redactions (if any) and redactions of yet-to-be-noticed
                                Non-Party names (if any)
                               Unseal pages released by Second Circuit (see List of Decided
                                Motions)
         229-4                 Unseal the remainder of the document with applicable Brown
                                minimal redactions (if any) and redactions of yet-to-be-noticed
                                Non-Party names (if any)
                               Unseal in full (no applicable Brown minimal redactions or yet-
        229-10                  to-be-noticed Non-Party names)

                               Unseal in full (no applicable Brown minimal redactions or yet-
        229-11
                                to-be-noticed Non-Party names)
          248                  No position

                               Unseal in full (no applicable Brown minimal redactions or yet-
          249                   to-be-noticed Non-Party names)

                               Unseal portions mentioning Doe 1 or Doe 2 (pp. 4, 5)
                               Unseal the remainder of the document with applicable Brown
         249-4
                                minimal redactions (if any) and redactions of yet-to-be-noticed
                                Non-Party names (if any)
                               Unseal portions mentioning Doe 1 or Doe 2 (p. 2)
                               Unseal the remainder of the document with applicable Brown
        249-13                  minimal redactions (if any) and redactions of yet-to-be-noticed
                                Non-Party names (if any)


                               Unseal with applicable Brown minimal redactions (if any) and
        249-14                  redactions of yet-to-be-noticed Non-Party names (if any)

                               Unseal with applicable Brown minimal redactions (if any) and
        249-15                  redactions of yet-to-be-noticed Non-Party names (if any)

                               Keep redactions of information related to Plaintiff’s medical
           230:                 history
 Defendant’s Motion to
                               Unseal the remainder of the document with applicable Brown
  Reopen Deposition of
                                minimal redactions (if any) and redactions of yet-to-be-noticed
Plaintiff Virginia Giuffre
                                Non-Party names (if any)



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                      Unseal with applicable Brown minimal redactions (if any) and
 235                   redactions of yet-to-be-noticed Non-Party names (if any)

                      Unseal pages released by Second Circuit (see List of Decided
                       Motions)
                      Unseal portions mentioning Doe 1 or Doe 2 (pp. 122, 126, 134,
                       138)
235-4
                      Unseal the remainder of the document with applicable Brown
                       minimal redactions (if any) and redactions of yet-to-be-noticed
                       Non-Party names (if any)

                      Medical records on pages 5-12 should remain sealed
                      Unseal the remainder of the document with applicable Brown
235-5                  minimal redactions (if any) and redactions of yet-to-be-noticed
                       Non-Party names (if any)

                      Keep sealed
235-6
                      No position
235-7
                      Keep sealed
235-8
                      Keep sealed
235-9
                      Unseal with applicable Brown minimal redactions (if any) and
235-10                 redactions of yet-to-be-noticed Non-Party names (if any)

                      Unseal with applicable Brown minimal redactions (if any) and
235-12
                       redactions of yet-to-be-noticed Non-Party names (if any)
                      Unseal with applicable Brown minimal redactions (if any) and
235-13
                       redactions of yet-to-be-noticed Non-Party names (if any)
                      Keep redactions
 260
                      Keep sealed
260-1

260-2                 Keep sealed
                      Keep redactions of information related to Plaintiff’s medical
                       history
 267                  Unseal the remainder of the document with applicable Brown
                       minimal redactions (if any) and redactions of yet-to-be-noticed
                       Non-Party names (if any)



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                     Unseal with applicable Brown minimal redactions (if any) and
268                   redactions of yet-to-be-noticed Non-Party names (if any)

                     Keep sealed
268-1
                     Unseal pages released by Second Circuit (see List of Decided
268-2                 Motions)
                     No position on the remainder of the document




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